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                            Exhibit 23
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Thu, May 2, 2024 at 6:02 PM
  Subject: BruinALERT: Campus Activity Updates (May 2nd at 6:00 PM)
  To:                                  <                                  >



  BruinALERT: Campus operations will be limited tomorrow, Friday May 3rd.



  Per Academic Senate guidance on instruction, all in-person classes are authorized and
  required to pivot to remote Friday.



  Geffen Academy, Lab School and Early Care and Education will reopen Friday.



  Employees are encouraged to work remotely wherever possible and should consult with
  their supervisors. Events and research activities are encouraged to go remote or be
  rescheduled wherever possible. Please continue to avoid the Royce Quad area.



  The hospital and health system, other clinical operations, and housing and hospitality
  facilities remain open. UCLA Extension classes will continue as scheduled, except for
  classes scheduled to be held on the UCLA campus, which will either be moved to other
  locations or online.



  We also encourage you to read today’s important message from Chancellor Block to our
  Bruin community.



  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




                      SHEMUELIAN DECLARATION EXHIBIT 23
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